Case 1:25-bk-10270     Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11                          Desc
                     Exhibit Lease - Sims Avenue Page 1 of 27

                             Part 1. LEASE SUMMARY SCHEDULE

  Lease Execution    March 1, 2021. This Lease is effective upon the Lease Execution Date.
  Date:
  Tenant:            TALLULAH'S TAQUERIA, LLC, a Rhode Island limited liability company

  Tenant’s Notice    146 Ives Street
  Address:           Providence, RI 02906
                     Attn: Kelly Ann Rojas
                     Telephone Number: (323) 974-2835
                     E-mail Address: kellyann@tallulahstaqueria.com

  Landlord:          FARM FRESH RHODE ISLAND, a Rhode Island nonprofit corporation

 Landlord’s         10 Sims Avenue
 Notice Address:    Providence, Rhode Island 02909
                    Attn: Lucie Searle
                    Telephone Number: (401) 345-0616
                    E-mail Address: Lucie farmfreshri.com

 Building:          The building located at 10 Sims Avenue, Providence Rhode Island, 02909. The
                    Building is located on the parcel of land (“Land’’) described on Exhibit A.

 Premises:          The Premises are designated as Suite #109 as shown on the “Suite Layout Plan”
                    attached hereto as Exhibit B. The Premises contain approximately 5,105 + net
                    usable square feet (“NSF”) of space (measured from interior wall to interior wall).
                    Where applicable in this Lease, Tenant’s Pro Rata Share is 9.15%; calculated based
                    upon a fraction, the numerator of which is the NSF of the Premises and the
                    denominator of which is the gross square footage of the floor area of the Building
                    (61,759 gross square feet, measured from exterior wall to exterior wall) multiplied
                    by 100; provided, however, that Service/Utility and Circulation areas are excluded
                    from the denominator.

 Food Hub           A portion of the Building will house all of Landlord’s programs and operations,
 Property:          including a farmers’ market and the remainder of the Building will be leased to
                    businesses, all of which together with the Land and all improvements thereon from
                    time to time, including the Building, will comprise the “Farm Fresh Food Hub,”
                    hereinafter sometimes referred to as the “Food Hub” or the “Property”.

 Term               March 1, 2021
 Commencement
 Date:
 Landlord’s         See Exhibit C; Landlord is delivering the Premises on the Lease Execution Date
 Work:              with the Landlord’s Work having been Substantially Completed (as defined in
                    Section 8.1 of this Lease). Tenant is responsible for all italicized items set forth in
                    Exhibit C. except where such items are to be provided by Landlord pursuant to
                    Exhibit C or Exhibit D, and except where such items comprise Tenant Fixturing.

 Tenant             See Exhibit D; Tenant and Landlord agree that Landlord will contract with
 Improvements:      Landlord’s contractor to cause to be performed the Tenant Improvements, subject to
                    and in accordance with Article 9 of this Lease and all approved Tenant Plans, as
Case 1:25-bk-10270       Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11                         Desc
                       Exhibit Lease - Sims Avenue Page 2 of 27

                       defined in Section 9.1. The Tenant Improvements shall be at Tenant’s sole cost and
                       expense; provided, however, that Landlord shall provide Tenant with the Tenant
                       Allowance.
  Rent                 July 1, 2021
  Commencement
  Date:
  Term:               March 1, 2021 to February 28, 2031

  Termination
  Date:                11:59pm (Eastern Time) on February 28, 2031

  Option to           Tenant shall have the option to extend the Term for two (2) additional terms of five
  Extend:             (5) years each (hereinafter referred to as the “Extended Term”) as provided in
                      Section 3 hereof.

  Lease Year:         The first “Lease Year” shall be the period commencing on the Term
                      Commencement Date and ending on February 28, 2022, and each succeeding
                      consecutive twelve (12) month period thereafter shall be a Lease Year, with the
                      final Lease Year ending on the Termination Date.

  Permitted Uses of   Tenant shall be permitted to use the Premises for the operation of a Mexican
  Premises:           restaurant, offering take-out and dine-in. Premises may also be used as a
                      commissary, providing food preparation for other food establishments owned and
                      operated by Tenant and its affiliates. Further, the Premises may be used for the
                      production and distribution of tortillas, salsas, and related retail food products.
                      Additionally, the Premises may also include (but not primarily used for) a bar
                      serving alcoholic beverages for on premises consumption and to-go, subject to and
                      in accordance with Providence and Rhode Island COVID-19 rules and regulations;
                      and no other uses, including without limitation, the Prohibited Uses set forth herein.

  Security Deposit:   Tenant shall pay a Security Deposit of Six Thousand and Three Hundred and
                      Eighty-one Dollars ($6,381.00) in two equal installments of Three Thousand One
                      Hundred Ninety and 50/100 Dollars ($3,190.50) each on September 1, 2021 and on
                      October 1, 2021, which amount is equal to one (1) month of full Base Rent (Month
                      7 of Lease Year 1),, which Security Deposit shall be held, replenished or released in
                      accordance with Section 4 hereof.

 Base Rent:           Base Rent shall commence on the Rent Commencement Date and shall be payable
                      in accordance with the Base Rent Schedule on the following page and Article 5.

 Additional Rent:     Additional Rent shall be payable in accordance with Article 6 hereof.

 Promotion Fee:       Landlord reserves the right to assess a “Promotion Fee” in accordance with Section
                      6.2(e).
     BASE RENT SCHEDULE                  Per Square Foot         Monthly Base Rent           Annual Base
             Period                                                                              Rent

 Lease Year 1                                          $7.50                   $6,381.00         $38,286.00
                                                                      (at full operation)

 Monthly Breakdown:
Case 1:25-bk-10270        Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11                        Desc
                        Exhibit Lease - Sims Avenue Page 3 of 27


     —March 1 — June 30, 2021 (Free                                                  $0
  Rent)

    —July 1 — February 28                                                    $6,381.00

  Lease Year 2                                         $16.00                $6,807.00            $81,658.00

  Lease Year 3                                         $17.00                $7,232.00            $86,785.00

  Lease Year 4                                         $17.00                $7,232.00            $86,785.00

  Lease Year 5                                         $18.00                $7,658.00            $91,890.00

  Lease Year 6                                        $18.72                 $7,964.00            $95,566.00

  Lease Year 7                                        $19.28                 $8,203.00            $98,424.00

  Lease Year 8                                        $19.86                 $8,449.00           $101,386.00


  Lease Year 9                                        $20.46                 $8,704.00           $104,448.00

  Lease Year 10                                       $21.07                 $8,963.00           $107,562.00

  Extended Term:

  If applicable, Annual Base Rent shall be calculated in accordance with Sections 5.2 and 5.3.
Case 1:25-bk-10270     Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11              Desc
                     Exhibit Lease - Sims Avenue Page 4 of 27




 Lease Exhibits:                    Part 1   Lease Summary Schedule and Base Rent Schedule
                                    A        Legal Description of Land
                                    B        Suite Layout Plan
                                    C        Landlord’s Work
                                    D        Tenant Improvements
                                    E        New Markets Tax Credit Disclosure and
                                             Acknowledgment
                                             Community Benefits Rider




                                   mom
                                             Employee Verification Form
                                             Lease Guaranty




                        [Part 2 of Lease Continued on Following Pages.]
Case 1:25-bk-10270        Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11                        Desc
                        Exhibit Lease - Sims Avenue Page 5 of 27

                                     Part 2.     LEASE AGREEMENT

        THIS LEASE is made and entered into as of the Lease Execution Date as stated in Lease Summary
 Schedule by and between Landlord and Tenant named in the Lease Summary Schedule.

                                               REFERENCE DATA

         Each reference in this Lease to any of the terms and titles contained in the Lease Summary Schedule
and any Exhibit attached to this Lease shall be deemed and construed to incorporate the data stated under
that term or title in such Lease Summary Schedule or Exhibit, each of which is attached hereto and
incorporated herein by reference.

 1.     Premises.

         1.1     Landlord hereby demises and leases to Tenant, and Tenant hereby leases from Landlord,
the Premises as described in the Lease Summary Schedule, upon and subject to the terms and conditions of
this Lease for the Term (and any Extended Term, if applicable) set forth herein. Landlord hereby grants to
Tenant the non-exclusive right to use the common areas of the Food Hub which are designated by Landlord
from time to time for the general use and convenience of Landlord and/or tenants in the Building and each
of their respective agents, employees, invitees and customers (the “Common Areas”). By way of example
and not in limitation of the foregoing, Common Areas include common restroom facilities, loading docks,
service corridors, driveways, walkways and sidewalks, landscaped areas and patios, and parking areas so
designated, and the areas marked “Gathering Space” and “Market Areas” as more particularly shown on
Exhibit B, Suite Layout Plan.

        1.2      Notwithstanding the foregoing, Landlord reserves the right upon not less than ten (10)
days’ prior written notice to Tenant, at any time following the second Lease Year, to charge Tenant a vendor
fee to be reasonably determined by Landlord for the use by Tenant of vendor space at tables located in the
Market Areas during those hours when the Building is open for Landlord’s weekly farmers market, which
vendor fee shall be the same amount charged to the other co-locators (“Venue Fees”). Such Venue Fees
shall be due and payable according to the Farm Fresh vendor fee schedule as determined from time to time
by Farm Fresh.

         1.3     Additionally, notwithstanding anything to the contrary contained in this Lease, Landlord
hereby reserves the right, for itself and its agents, employees, invitees and customers (the “Landlord
Parties”) and for any tenants or licensees of the Food Hub and their agents, employees, invitees and
customers (the “Food Hub Parties”) to grant priority non-exclusive and/or priority exclusive access, at
various times and from time to time, to any Landlord Parties and/or any Food Hub Parties, to any or all of
the Common Areas of the Food Hub (“Special Access Rights”). Special Access Rights may be granted or
denied, in Landlord’s sole and absolute discretion, upon Tenant’s written request therefor. Additionally,
Special Access Rights may be provided to those tenants whose premises are in close proximity to exterior
Common Area patios. In particular, Landlord hereby grants Tenant Special Access Rights in the form of an
exclusive license to utilize during Tenant’s business hours the approximately 783 square foot exterior patio
area (the “Patio License Area”) immediately adjacent to the Premises, as more particularly shown on
Exhibit B, which use shall at all times comply with the Rules and Regulations (“Tenant’s Patio License”).
At all times during which Tenant is permitted to use the Patio License Area Tenant shall be responsible to
keep such Patio License Area and outdoor furnishings free from snow, ice, dirt, trash and debris (and in full
compliance with Rhode Island Department of Health laws and regulations) and Tenant shall have the same
obligations with respect to the use and occupancy of the Patio License Area as it has with respect to the
Premises; provided, however, that the license granted to Tenant under this Lease is personal to Tenant and
under no circumstances shall such license be subject to assignment or sub-licensing without Landlord’s
prior written consent. By not later than sixty (60) days before Tenant’s storefront opening, Tenant shall
Case 1:25-bk-10270            Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11                            Desc
                            Exhibit Lease - Sims Avenue Page 6 of 27

 submit to Landlord for Landlord’s reasonable approval plans and specifications for the furnishings and
 layout of the Patio License Area, including the provision therein for not less than a three (3) foot wide
 pathway reasonably designated by Landlord to allow for the passage of persons between the Patio License
 Area and other exterior areas of the Food Hub (the “Patio Area Plans”).             Notwithstanding anything to the
 contrary in this paragraph, Tenant’s Patio License shall be subject to the Rules and Regulations, hereinafter
 defined, and Landlord’s right, upon not less than twenty-one (21) days’ prior written notice to Tenant
 (“Landlord’s Patio Use Notice”), to use or allow the use of the Patio License Area for up to four (4) days
 (each up to a twenty-four hour period) during each calendar year for public or special events. Landlord’s
 Patio Use Notice shall specify whether or not any of Tenant’s furnishings or equipment must be removed
 from the Patio License Area or relocated within the Patio License Area for Landlord’s usage. Tenant shall
 deliver the Patio License Area in “broom clean” condition and in compliance with Landlord’s Patio Use
 Notice. Once Landlord has completed its use thereof, Landlord shall restore the Patio License Area to
 substantially the same condition as it was delivered by Tenant to Landlord.

          1.4.    All the perimeter walls of the Premises, except the inner surfaces thereof, any balconies,
 patios, walkways, terraces or roofs adjacent to the Premises, and any space in or adjacent to the Premises
 used for shafts, stacks, pipes, conduits, wires and appurtenant fixtures, fan rooms, ducts, electric or other
 utilities, sinks or other Building facilities, and the use thereof, as well as the right of access through the
 Premises for the purposes of operation, decoration and repair, are expressly reserved to Landlord. Landlord
reserves the right to make additions to the Building and to erect additional buildings and structures on the
Land. Except for the Patio License Area, Landlord reserves the right to alter, reduce, increase, relocate and
change, from time to time, entrances, sidewalks, patios, landscaped areas, stairwells, lobbies and all other
common facilities within the Building and driveways, parking areas and walkways on, in, under or
otherwise serving the Land.

2.     Term. The term (the “Term”) of this Lease shall commence on the Term Commencement Date
and end on the Termination Date, each as stated in the Lease Summary Schedule, subject to earlier
termination upon default or pursuant to other provision of this Lease or pursuant to law (which date for the
termination of the Term will hereafter be called "Termination Date"). If this Lease is terminated before the
Term expires, then upon Landlord's request the parties shall execute an instrument acknowledging such fact
and the date of termination of this Lease.

3.         Extension of Term of Lease.           So long as Tenant is not in default under this Lease at the time it
elects to extend the Term or at the commencement of the Extended Term, Tenant shall have the Option to
Extend the Term as set forth in the Lease Summary Schedule provided that Tenant shall have given written
notice to Landlord at least six (6) months prior to the expiration of the Term, or first Extended Term (if
applicable).    Except for the payment of Base Rent as set forth in Section 5 hereof, such Extended Terms
shall be    upon   the   same   terms,    covenants   and   conditions   as set forth herein    for the initial Term.
Notwithstanding anything contained herein to the contrary, (i) if a default occurs at any time after the
exercise of the Option to Extend and remains uncured on either the date notice is given exercising the
Option to Extend or the first day of the Extended Term, or (ii) if any other default occurs which remains
uncured beyond applicable notice and cure periods on the first day of the Extended Term, Landlord may
elect, by written notice to Tenant, to reject Tenant’s exercise of the Option to Extend. If Landlord so rejects
Tenant’s exercise of the Option to Extend, the Option to Extend shall be null and void.

4.         Security Deposit.             Upon   the execution    of this Lease,   Tenant   shall pay to Landlord the
Security Deposit which shall be held by Landlord without liability for interest as a security for Tenant’s
payment and performance hereunder. If at any time during the Term, any sum payable by Tenant to
Landlord hereunder shall be overdue and unpaid, or if Tenant breaches any of Tenant’s obligations under
this Lease, Landlord may, but shall not be required, at its sole discretion, appropriate and apply any portion
of the Security Deposit to the payment of any such sum or to compensate Landlord for loss or damage
sustained or suffered by Landlord due to such breach on the part of Tenant. Tenant shall, upon the written

                                                             6
Case 1:25-bk-10270         Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11                       Desc
                         Exhibit Lease - Sims Avenue Page 7 of 27

 demand of Landlord, forthwith remit to Landlord a sufficient amount in cash to restore the Security Deposit
 to the original sum, and Tenant's failure to do so within ten (10) days after receipt of such demand shall
 constitute an event of default hereunder. Should Tenant comply with all of such terms, covenants and
 conditions and promptly pay all sums payable by Tenant to Landlord hereunder, the Security Deposit shall
 be returned in full to Tenant within thirty (30) days following the termination of this Lease, minus any
 portion thereof which may have been utilized by Landlord to cure any default or applied to any damage
 suffered by Landlord.

 5.      Base Rent.

          5.1    During the Term, Tenant shall pay annual Base Rent to Landlord in the amounts set forth
 in the Lease Summary Schedule. Base Rent shall be payable in advance and without demand, on the first
 (1*) day of each month, during and until the expiration of the Term (and any Extended Term) by check,
 wire or ACH transfer in immediately available local funds made payable to Landlord and delivered to
 Landlord at Landlord’s Notice Address set forth in the Lease Summary          Schedule.   Base Rent shall be
 prorated for any period of less than a full calendar month. Base Rent shall be payable beginning on the Rent
 Commencement Date.

         5.2      The Base Rent for the first Lease Year of each Extended Term shall be equal to the greater
 of (i) the Base Rent payable under this Lease for the final Lease Year of the initial Term or the immediately
 preceding Extended Term, as the case may be, or (ii) the Prevailing Market Rate (as hereinafter defined)
 for the Premises. The Base Rent for the second and subsequent Lease Years in each Extended Term shall
 be equal to the product of the Base Rent for the immediately preceding Lease Year multiplied by a
 percentage increase as reasonably determined by Landlord based on then Prevailing Market Rate; provided,
 however, that such percentage increase for any Lease Year shall not exceed one hundred and five percent
 (105%) of the Base Rent for the immediately preceding Lease Year. Notwithstanding the foregoing, in no
 event shall Base Rent for any Lease Year during an Extended Term be less than Base Rent for any preceding
 Lease Year.

          53     As used herein, the term "Prevailing Market Rate" for the Premises shall mean the base
rent that Landlord would be able to obtain from a third party desiring to lease the Premises for the Extended
Term in question, taking into account the age of the Building, the size and location of the Premises, the
quality of construction of the Building and the Premises, the services provided under the terms of this Lease,
the rent rates then being obtained for new leases of space comparable to the Premises in the locality of the
Building (e.g., by way of reference as of the date of this Lease, commercial and retail space located in the
greater Woonasquatucket and Valley neighborhoods of Providence, RI), and all other factors that would be
relevant to a third party desiring to lease the Premises for an Extended Term in determining the base rent
such party would be willing to pay therefor. Prevailing Market Rate shall be determined based on new
rentals for similar space without standard tenant improvement allowances (as Tenant shall not receive any
tenant improvement allowance for the Extended Term), but not with standard leasing commissions because
Landlord shall not be obligated to provide a leasing commission with the Option to Extend. No later than
one hundred eighty (180) days prior to commencement of the Extended Term, Landlord shall notify Tenant
of Landlord's determination of the Prevailing Market Rate to be used to calculate the Base Rent for the
Extended Term. If Tenant does not agree with Landlord's determination, the parties shall negotiate in good
faith for up to thirty (30) days to agree upon the Prevailing Market Rate. If the parties do not reach
agreement by the one hundred twentieth (120th) day prior to commencement of the Extended Term, the
Option to Extend shall be deemed waived and of no further force or effect.

6.      Operating Expenses: Components of Base Rent and Additional Rent.

        6.1      Certain Operating Expenses Included in Base Rent.
Case 1:25-bk-10270                Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11                   Desc
                                Exhibit Lease - Sims Avenue Page 8 of 27

          (a)         The parties acknowledge that, except to the extent specifically otherwise provided in this
 Lease, Tenant’s share of the Base Operating Expenses (defined below) is already included within the
 monthly Base Rent and Tenant shall not be required to pay its share of the Base Operating Expenses as
 Additional Rent.

          (b)        As used herein, “Base Operating Expenses” means the total costs and expenses paid or
 incurred by Landlord in connection with the following:

                     (i)         all real estate taxes which become payable during the Term (and any Extended
         Term) with respect to the Land, Building and all other improvements located on the Land and
         owned by Landlord which may be added thereto or constructed by or at the direction of Landlord
         within the          Food Hub;

                     (ii)        all insurance carried by Landlord for the Food Hub (including fire, extended
         coverage, boiler, sprinkler, liability, rent loss, special perils and other insurance, in limits and
         amounts as provided in this Lease);

                     (iii)       Gas service associated with the Building’s main boilers and Common Elements;

                     (iv)        Electrical service associated with the Building’s main cooling tower and other
         Building-wide mechanical systems as well as the Building’s Common Elements (e.g. market halls,
         bathrooms, gathering areas, common area lights, ceiling fans, exterior and parking lot lights);

                     (v)         Water and sewer services associated with all of the Building’s Common Elements;

                     (vi)        Internet service associated with all Common Areas; and

                     (vii)       the cost of routine maintenance, repair, and cleaning of the Common       Areas
         (including snowplowing, landscape maintenance, parking lot maintenance).

         (c)     Notwithstanding the provisions of Section 6.1, Landlord reserves the right to charge Tenant
Excess Usage Charges, defined in Section 6.2(a), which are not included in Base Operating Expenses.
Further, Tenant shall pay to the appropriate agency any sales, excise and other tax (not including, however,
Landlord’s income taxes) levied, imposed or assessed by the State of Rhode Island or any political
subdivision thereof or other taxing authority upon any Rent payable hereunder. Tenant shall also pay, prior
to the time the same shall become delinquent or payable with penalty, all taxes imposed on its inventory,
furniture, trade fixtures, apparatus, equipment, leasehold improvements installed by Tenant or by Landlord
on behalf of Tenant and any other property of Tenant.

         6.2     Expenses Comprising Additional Rent.

        (a)     Excess Usage. The parties acknowledge that the Tenant’s use of the Premises and the Patio
License Area and its hours of operation may result in excess usage of the Food Hub facilities and services.
Notwithstanding the provisions of Section 6.1 hereinabove, in addition to Base Rent, Landlord reserves the
right to charge Tenant for any extraordinary usage by Tenant or Tenant’s usage outside of the majority of
the tenants of the          Food Hub’s normal business hours of any services which are normally included in the
Base Rent, including, by way of example and not in limitation, usage of bathroom facilities (and associated
water, sewer and janitorial and management, security if deemed advisable, in Landlord’s reasonable
judgement, and related expenses incurred by Landlord) (“Excess Usage Charges”). The parties further
acknowledge that an operating history that identifies facility costs and service charges is needed in order to
confirm excess usage and determine a fair apportionment of costs. Landlord shall perform an annual audit
of services used by all tenants in the Building normally included in the Base Rent (including Tenant).

                                                           8
Case 1:25-bk-10270              Doc 35-1 Filed 05/06/25 Entered 05/06/25 11:43:11                      Desc
                              Exhibit Lease - Sims Avenue Page 9 of 27

 Towards that end, the parties agree, upon written notice from Landlord to Tenant, to meet no sooner than
 September 1, 2021 but no later February 28, 2022 and thereafter by not later than May | of each subsequent
 Lease Year during the Term and any Extended Term, to review the Food Hub’s operating cost and expense
 history related to services described herein and Landlord’s determination, reasonably exercised, of whether
 to allocate any portion of Excess Usage Charges to Tenant as Additional Rent and if so, the formula and
 elements upon which any allocation is made to Tenant. Landlord’s determination shall be set forth in writing
 in reasonable detail and shall be accompanied by receipts or other customary evidence of such costs and
 expenses.

          (b)    Payment Directly to Certain Utility Providers. Tenant shall be responsible for directly
 contracting for and paying, at its sole cost and expense, all charges (including any deposits) for gas,
 electricity, telephone, and internet service (singly, a “Utility” or in the plural, “Utilities”), furnished to the
 Premises and the Patio License Area to the extent that such Utilities shall be separately metered and/or
 directly billed to Tenant by the respective Utility providers. As of the Term Commencement Date, natural
 gas (if applicable) and electricity (i.e., “lights and plugs”), to the Premises will be separately metered.

            (c)        Reimbursement to Landlord. With respect to Utilities which are not separately metered,
 such as water, Landlord reserves the right to have separately metered or “check metered”, or to employ any
 alternative approach to reasonably estimate the amount of such Utilities used or consumed at the Premises
 and to bill Tenant monthly in arrears based upon rates charged by the providers of such Utilities. In this
 regard, water serving Tenant’s Premises has been fitted with a check-meter and will serve as the basis for
 Landlord’s computation of Tenant’s share of water and sewer charges for water and sewer used or
 consumed at the Premises. Tenant shall pay Landlord, as Additional Rent, all charges billed by Landlord
 for such Utility services within thirty (30) days of Tenant’s receipt of a billing from Landlord. Landlord
 may reasonably re-adjust such charges from time to time upon written notice to Tenant.

            (d)        Trash. Compost and Recyclables. Landlord will contract with one or more providers of
 trash collection, including recyclable trash collection and cardboard and the receptacles therefor, for the
 Food Hub (including the Premises) (“Trash Services”). Landlord shall be responsible for managing the
 Trash Services, ensuring there are properly sized trash and recycling receptacles, ensuring there are enough
 trash and recycling receptacles for all tenants in the Building, and ensuring trash and recycling are picked
 up frequently enough so Tenant can dispose of its trash and recycling every evening.       Trash generated from
 the Premises and the Patio License Area shall be placed in the appropriate receptacles designated by
 Landlord. The cost of Trash Services shall be reimbursed to Landlord and payable as Additional Rent by
 Tenant within thirty (30) days of receipt of a billing therefor from Landlord. Landlord shall determine the
 costs of Trash Services allocable to the Premises based upon Tenant’s Pro Rata Share (or, if Tenant’s Pro
Rata does not reasonably reflect Tenant’s actual use of the Trash Services compared to other tenants in the
Building, Landlord may employ any alternative approach to reasonably estimate the amount of such Trash
 Services allocable to the Premises). Notwithstanding anything to the contrary contained herein, during the
first Lease Years (i.e., July 1, 2021 to June 30, 2023), Tenant shall not pay more than $1,000 per month (or
$12,000 per year) to Landlord as Additional Rent for Trash Services.               Commencing from and after
December 31, 2021, by not later than every May 1 year during the Term, and any Extended Term, Landlord
shall perform an audit of Trash Services used by all tenants in the Building (including Tenant) and, based
on the results thereof, Landlord shall reasonably determine (subject to Tenant’s reasonable approval, which
shall not be unreasonably conditioned, withheld or delayed) the Trash Services expense to be allocated to
Tenant as Additional Rent as a result thereof. Landlord’s determination shall be set forth in writing in
reasonable detail and shall be accompanied by receipts or other customary evidence of such costs and
expenses.         Tenant shall be responsible for directly contracting with and paying for, at its sole cost and
expense, one or more providers of compost and oil recycling services and the receptacles therefor for the
Premises that are reasonably satisfactory to Landlord with Landlord providing sufficient space for the
relevant receptacles.
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                        Entered 05/06/25 11:43:11             Desc
                  Exhibit Lease - Sims Avenue                     Page 10 of 27

          (e)      Promotional and Amenities Fund Contribution. Landlord reserves the right to establish a
 fund (the "Promotion Fund") for the fees, costs and expenses associated with the provision of various
 amenities intended by Landlord to promote all businesses operating at the Food Hub and to enhance the
 visitor experience of the general public at the Food Hub, to promote the Food Hub or any events sponsored
 therein targeted at the general public that are intended to benefit (directly or indirectly) all co-locators and/or
 to provide additional amenities to the Food Hub, such as by way of example but not limitation, seasonal or
 special event decorations or signage (including without limitation stanchions or banners or electronic
 boards), public address system equipment, entertainment fees, advertising fees, special public event
 personnel charges, security for public events (Landlord being under no obligation to provide security,
 however), traffic control for public events, sales promotions, access or license fees for adjacent properties,
 entertainment for the benefit of the general public visiting the Food Hub (collectively, “Promotional
 Activities” or “Promotional Costs”).    Landlord shall have the sole right to determine the specific
 Promotional Activities and Promotional Costs of the Food Hub to be paid out of the Promotion Fund. Upon
 receipt of prior written notice from Landlord, Tenant agrees to contribute its Pro Rata Share of the
 Promotion Fund as Additional Rent (the "Promotion Fee"). Commencing from and after Landlord’s written
 notice to Tenant, the Promotion Fee shall be paid to Landlord in equal monthly installments on the dates
 that monthly installments of Base Rent are due and payable hereunder or at such other times set forth in
 periodic billings from Landlord. In the event that Landlord incurs Promotional Costs in connection with the
 Promotional Activities, Landlord may deduct the Promotional Costs from the Promotion Fund to reimburse
 itself or to directly pay the providers of Promotional Activities. The Promotion Fee payable under this
Section is subject to adjustment from time to time upon Landlord’s reasonable discretion; provided,
however, that from and after Landlord’s first annual assessment of any Promotion Fee to Tenant, the
Promotion Fee payable by Tenant in each subsequent Lease Year of the Term (or any Extended Term, if
 applicable) shall not exceed an amount equal to three and one-half percent (3.5%) of the Base Rent payable
during the then-current Lease Year in question. Notwithstanding the foregoing, costs and expenses that are
 separately and completely reimbursable to Landlord by tenants as a result of provisions contained in their
specific leases shall not be included in the Promotion Fund.

         6.3     If Tenant at any time or from time to time shall fail to perform any of the covenants, terms
and conditions in this Lease contained to be performed on the part of Tenant, which remains uncured beyond
applicable notice and cure periods, Landlord may immediately, or at any time thereafter without notice,
perform the same for the account of Tenant, and in any such event, any monies paid by Landlord for such
purpose shall be deemed to be Additional Rent due hereunder and shall be payable forthwith to Landlord
upon rendition of an invoice therefor.    The foregoing remedy is in addition to any other remedies afforded
to Landlord hereunder, including the remedy provided under Section 4.

         6.4      Base Rent and Additional Rent, together with any and all other charges and sums required
to be made by Tenant by the terms of this Lease, including, without limitation, any interest or late fees set
forth in this Lease, are hereinafter collectively referred to as “Rent”. Rent shall be payable beginning on
the Rent Commencement Date in accordance with Section 5.1 above. Any Additional Rent accruing to the
Landlord under this Lease, except as is otherwise specifically otherwise set forth herein, shall be due and
payable when the installment of Base Rent next falling due after such Additional Rent accrues and becomes
due and payable (e.g., the first (1st) day of each calendar month during such Lease Year.

7.      Permitted Uses: NMTC       Prohibitions: Community Benefits: Emplovee Verification.

        71       The Premises and the Patio License Area may be used by Tenant solely for the “Permitted
Uses” set forth in the Lease Summary Schedule and for no other purpose or use without Landlord’s prior
written consent. Tenant shall, at its sole cost and expense, procure, maintain, and observe any and all
licenses, permits, or other consents and approvals issued by any governmental authorities or permit granting
or other agencies having jurisdiction over the Premises and the Patio License Area, the Building, the Land
or the Permitted Use required by reason of any applicable statute, law, ordinance, rule or regulation

                                                        10
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11            Desc
                  Exhibit Lease - Sims Avenue                   Page 11 of 27

 applicable to the Permitted Use of the Premises and the Patio License Area by Tenant (collectively, the
 “Permits”). Tenant at its sole cost shall provide copies of all Permits to Landlord.

             7.2   Tenant shall not do or permit anything to be done in the Building or bring or keep anything
 therein which will in any way increase the rate of or conflict with any insurance on the Building or on
 property kept therein, or obstruct or interfere with other tenants or those doing business with them, or
 conflict with any of the statutes, rules or ordinances of the City of Providence, the State of Rhode Island or
 United States of America or of any of the departments or agencies of any of the foregoing authorities.

         7.3       Landlord is a recipient of funding for the development and construction of the Food Hub
 from various federal, state and private sources (the “Source Loans”). The Source Loans require Landlord
 to provide the Source Loan lenders with assurances concerning use of the Source Loan funds and the various
 uses of the Food Hub, including without limitation, periodic updated employment reports from Landlord
 and all Tenants in order to monitor job compliance. As a condition of this Lease, at Lease execution, Tenant
 shall execute and deliver to Landlord the use restrictions set forth on the New Markets Tax Credit
 Disclosure and Acknowledgement attached hereto as Exhibit E (the “NMTC Restrictions”). Also, as a
 condition of this Lease, Tenant shall execute and deliver to Landlord upon not less than thirty (30) days’
 prior written request from Landlord the following: (i) the provisions of the Community Benefits Rider
 attached hereto as Exhibit F and (ii) the Employee Verification Form attached hereto as Exhibit G. Tenant
 shall at all times be in compliance with the NMTC Restrictions. Notwithstanding anything to the contrary
 contained herein, Tenant shall not be required to provide (or disclose) (i) employee names or (i) any other
 employee personally identifiable information that Tenant is not permitted to provide (or disclose) pursuant
 to state and/or federal law.   Landlord shall insure that any information provided by Tenant to Landlord
 pursuant to this Section 7.3 and its related exhibits shall be kept confidential by Landlord and shall not be
 disclosed by Landlord, except when Landlord is required by state and/or federal law, rule, or regulation to
 disclose the same.

         74      Tenant shall abide by and comply with rules and regulations promulgated by Landlord at
 any time or from time to time which in the reasonable judgment of Landlord shall be necessary for the
reputation, safety, care or appearance of the Building or the Food Hub, or the preservation of good order
therein, or the operation or maintenance of the Building or the      Food Hub, or the equipment thereof, or the
comfort of tenants or others in the Building (the “Rules and Regulations”), provided, however, that in the
case of any conflict between the provisions of this Lease and any such regulations, the provisions of this
Lease shall control, and provided further that nothing contained in this Lease shall be construed to impose
upon Landlord any duty or obligation to enforce the Rules and Regulations or the terms, covenants or
conditions in any other lease as against any other tenant and Landlord shall not be liable to Tenant for
violation of the same by any other tenant, its servants, employees, agents, contractors, visitors, invitees or
licensees.

8.       Landlord's Work.

         8.1     As of the Lease Execution Date, Landlord’s Work to the Premises has been Substantially
Completed. Tenant acknowledges that Landlord and Landlord's agents and employees have made no
representations or warranties with respect to the Premises or the physical condition thereof and none shall
be implied in law, except for such express warranties which are stated in this Lease. "Substantially
Completed" with respect to Landlord’s Work shall mean that Landlord's Work has been completed except
for only minor or insubstantial details of construction or mechanical adjustments which remain to be done
in the Premises or any part thereof (e.g., so-called "punch-list" items). Landlord’s architect’s or contractor’s
certificate of substantial completion, given in good faith, or of any other facts pertinent to this Section 8.1,
shall be deemed conclusive of the statements therein contained and binding upon Tenant. Tenant accepts
the Patio License Area under its license in its “AS IS WHERE IS” condition.



                                                       11
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                            Entered 05/06/25 11:43:11            Desc
                  Exhibit Lease - Sims Avenue                         Page 12 of 27

 9.      Tenant Improvements.

         9.1      As of the Lease Execution Date, Landlord and Tenant have agreed upon plans and
 specifications (collectively, "Tenant's Plans") for the Tenant Improvements as well as the construction
 contract and payment terms for the Tenant Improvements, all as more particularly described in Exhibit D
 of this Lease.     Landlord   agrees   to cause      its contractor (the “Contractor”)     to construct the Tenant
 Improvements pursuant to a separate contract between Landlord and such Contractor.

         9.2      Landlord shall provide an allowance toward a portion of the total cost of the Tenant
 Improvements (excluding trade fixtures, equipment and inventory) within the Premises, in the amount and
 manner provided in Exhibit D. Tenant shall be solely responsible for the remaining cost of the Tenant
 Improvements and for any overruns, change orders and other expenses incurred in connection with the
 buildout of the Tenant Improvements for the Premises in excess of the Tenant Allowance.

         9.3      The Tenant Improvements shall be deemed “Substantially Completed” on the earlier of
 that date upon which the City of Providence Department of Inspection and standards has issued a “certificate
 of occupancy”    for the Premises (or a temporary             certificate of occupancy   or other legally sufficient
equivalent document allowing occupancy of the Premises in light of the circumstances surrounding the
COVID-19 crisis) or the date upon which Tenant takes occupancy of the Premises for the conduct of its
Permitted Use. Notwithstanding anything to the contrary in this Section 9, if this Lease is terminated prior
to the expiration of the initial Term as a result of Tenant's uncured default, Tenant shall pay to Landlord
the unamortized portion of the Tenant Allowance, calculated on a straight line basis over the initial Term,
commencing on the Rent Commencement Date and an annual interest rate of three percent (3.0%).

         9.4      Immediately following Substantial Completion of the Tenant Improvements, Tenant may,
at Tenant’s sole cost and expense, commence and thereafter diligently pursue to completion, the installation
in and equipping of the Premises with its personal property necessary or proper for the operation of the
Permitted Use (collectively, the “Tenant Fixturing”). Tenant shall, at Tenant’s sole cost and expense, obtain
all permits and other governmental approvals (other than the certificate of occupancy) necessary for the
Tenant Fixturing or Tenant’s planned operation of the Premises. All Tenant Fixturing shall be performed
in a good and workmanlike manner and in accordance with all applicable laws and in accordance with the
terms of the Lease. Notwithstanding the foregoing, provided that Tenant and its employees, agents and
contractors do not interfere with the performance of the work on the Tenant Improvements in the Premises,
from and after the date that is thirty (30) days, or such earlier time as mutually agreed by the parties, prior
to the estimated date of Substantial Completion of the Tenant Improvements work, Landlord shall allow
Tenant access to the Premises to begin Tenant Fixturing.

 10.     Hazardous Materials.

         10.1.    Tenant shall not permit the emission, release, threat of release or other escape of any
Hazardous Materials (defined below) so as to adversely affect in any manner, even temporarily, any element
or part of the Premises, the Patio License Area, or the Building. Tenant shall not use, generate, store or
dispose of Hazardous Materials in or about the Building (except for ordinary office computer products,
supplies and cleaning supplies which are stored, used and disposed of in compliance with all applicable
Environmental Laws (defined below)), or dump, flush or in any way introduce Hazardous Materials (other
than   common     cleaning   products   which   are    being     disposed   of in compliance    with   all applicable
Environmental Laws) into sewage or other waste disposal systems serving the Building, nor shall Tenant
permit its invitees, “Tenant Party”) to take any of the foregoing actions. This Lease is now or will be subject
to an ELUR promulgated by the Rhode Island Department of Environmental Management with respect to
the Building; Tenant shall not act in violation of any such ELUR (a copy of which shall be made available
to Tenant upon request) with respect to the Building, the Land, the Common Areas or any adjacent property.



                                                           12
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11            Desc
                  Exhibit Lease - Sims Avenue                   Page 13 of 27

            10.2   For purposes of this Lease, "Hazardous Materials" means, collectively, any animal wastes,
 medical    waste, blood,   bio-hazardous   materials, hazardous   waste, hazardous   substances, pollutants or
 contaminants, petroleum or petroleum products, radioactive materials, oil (except for cooking oil to the
 extent used in connection with the Permitted Use and disposed of in compliance with all applicable laws,
 rules, orders and regulations), asbestos or lead in any form or condition, or any pollutant or contaminant or
 hazardous, dangerous or toxic chemicals, materials or substances within the meaning of any applicable
 federal, state or local law, regulation, ordinance or requirement relating to or imposing liability or standards
 of conduct concerning any such substances or materials on account of their biological, chemical,
 radioactive, hazardous or toxic nature, all as now in effect or hereafter from time to time enacted or
 amended. For purposes of this Lease, "Environmental Laws" means all laws, rules, orders and regulations
 of federal, state, county, and municipal authorities, concerning any Hazardous Materials whatsoever.

           10.3.  Tenant will indemnify, defend and hold Landlord harmless from and against all claims,
 loss, costs and expenses (including, without limitation, reasonable attorneys’ fees and disbursements, costs
 incurred in connection with any investigation of site conditions or any clean-up or remedial work required
 by any federal, state or local governmental agency) to the extent incurred as a result of any contamination
 (or, in the case of investigations and testing, any reasonably suspected contamination) of the Premises, the
 Patio License Area, or any other portion of the Building with, or any release of, Hazardous Materials caused
 or permitted by (or, in the case of investigations and testing, reasonably suspected to have been caused or
 permitted by) Tenant or any Tenant Party. Without limiting the foregoing, if the presence of any Hazardous
 Materials in, on or under the Premises, the Patio License Area, or any other portion of the Building caused
 or permitted by (or, in the case of investigations and testing, reasonably suspected to have been caused or
 permitted by) any Tenant Party results in (or, in the case of investigations and testing, is reasonably
 suspected to have resulted in) any contamination of the Premises, the Patio License Area or any other
 portion of the Building, the Land or any other property, Tenant shall promptly take all actions at its sole
 expense as are necessary to investigate and test the affected (or reasonably suspected to have been affected)
 area, and if any contamination is found, then to return the Premises, the Patio License Area, the Building,
 the Land and such other property to the condition existing prior to the introduction of any such Hazardous
 Material by any Tenant Party, provided that Landlord's approval of such action shall first be obtained, which
 approval shall not be unreasonably withheld so long as such actions would not potentially have any material
 adverse long-term or short-term effect on Landlord, the Premises, the Patio License Area, the Building or
 the Land. The obligations of Tenant and Landlord in this Section shall survive the expiration or earlier
 termination of this Lease and any transfer of title to the Premises, the Patio License Area, whether by sale,
 foreclosure, deed in lieu of foreclosure or otherwise. Landlord agrees to indemnify, defend and hold Tenant
 harmless from and with respect to any Hazardous Materials in the Premises, the Patio License Area, or
 Building released by Landlord.

 11.       Maintenance and Repair: Alterations.

           11.1    During the Term (and any Extended Term, if applicable), Landlord shall maintain in good
condition and repair (and replace as necessary) the roof, floor slab, utility and plumbing services to the
point of entry of the Premises, and the remainder of the Building and Common Areas and all structural and
mechanical components thereof not comprising the Premises. Landlord shall maintain and keep clean all
Common Areas, remove snow and trash therefrom when reasonably required, and provide adequate lighting
for all Common Areas, including the parking areas. Notwithstanding the foregoing, Landlord shall not be
required to make any improvements, replacements or repairs of any kind with respect to the Premises and
appurtenance thereto unless the same is necessitated by the negligence or willful misconduct of Landlord
or any Landlord Party. Tenant shall pay to Landlord the cost of any repairs and replacements to any portion
of the Premises or Building or other improvements or appurtenances thereto necessitated by reason of any
act or omission, negligence or misconduct of Tenant, or any Tenant Party, or the operations of Tenant or
the storage of Tenant's merchandise within the Premises.



                                                       13
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11             Desc
                  Exhibit Lease - Sims Avenue                   Page 14 of 27

          11.2    Except for repairs required to be made by Landlord pursuant to Section 11.1 hereof, Tenant,
 at its expense, shall maintain and make all repairs and/or replacements to the Premises and all of the
 following items in the Premises (regardless of which party is deemed to own the same) as necessary to keep
 them in the same condition as they are in as of the Term Commencement Date, reasonable wear and damage
 by fire or other casualty excepted: all Tenant Improvements; all Tenant Fixturing; all equipment; all systems
 (including heating and heat pumps, ventilation, air conditioning (including oiling, filter changes, belt repair
 and/or replacements, refills of freezing compound to the air conditioning, required compliance with any
 environmental laws, rules, regulations, ordinances with respect to such systems); all electrical (including
 lights, lightbulbs and plugs), all gas lines (if applicable), all plumbing and sewer lines, including all grease
 traps serving the Premises; all cables, ducts, vents, hoods and exhaust systems (if applicable); the exterior
 and interior portions of all doors in the Premises including door checks and hardware; all windows including
 hardware and other appurtenances in the Premises (Tenant shall promptly replace all broken or cracked
 glass); and the ceiling of the Premises. All items that Tenant shall replace shall be new and be of equal or
 better quality, specifications, type and style than the item being replaced. Tenant will maintain and keep in
 good condition and repair the storefront (if applicable) and all structural and exterior work done or installed
 by Tenant. Tenant shall not permit any waste, damage or injury to the Premises, the Patio License Area or
 any portion thereof. Without limiting the foregoing, Tenant shall be obligated to keep the Premises free of
 trash, refuse and pests. Tenant shall keep any garbage, trash, rubbish or other refuse in containers within
 the interior of the Premises until removal by Tenant to such location outside the Building as agreed by
 Landlord and Tenant. Tenant shall contract with its own licensed pest extermination service to prevent the
 presence of rodents, insects and similar pests, covering the Premises and the Patio License Area as needed.
 Landlord shall have the right to approve such licensed pest extermination service. Tenant shall not injure
 or deface the Premises the Patio License Area or any other part of the Building, nor suffer any waste thereof,
 nor without Landlord’s consent, which consent shall not be unreasonably withheld, make any alterations
 and improvements in the Premises, the Patio License Area or the Building. As a condition to granting such
 consent, Landlord and Tenant shall mutually agree on whether Tenant shall be required, upon the expiration
 or termination of this Lease, at its own expense, to restore any part of the Premises altered by Tenant to its
 condition prior to such alternation. Tenant shall not make or permit any installations through, to or on the
roof, ceiling, or any portions of the Building above or below the Premises without first obtaining Landlord's
prior written consent to the work to be done and the contractor to perform such work; and Landlord shall
have the right to require Tenant to use Landlord's roofing contractor in connection with any work affecting
the roof of the Premises.

 12.     Surrender. On the last day of the Term (or the Extended Term, if applicable), or other earlier
termination of this Lease, Tenant, at its expense shall (a) promptly surrender to Landlord possession of the
Premises and the Patio License Area (including any fixtures or other improvements which are owned by
Landlord) in good order and repair (ordinary wear and tear excepted) and broom clean, (b) remove
therefrom all signs, goods, effects, machinery, fixtures and equipment used in conducting Tenant’s trade or
business which are neither part of the Building Service Equipment (hereinafter defined) nor owned by
Landlord, and (c) repair any damage caused by such removal. In the event that Tenant shall fail to surrender
the Premises or the Patio License Area to Landlord at the end of the Term (or the Extended Term, if
applicable), then Tenant shall be a tenant at sufferance. During any such holding over by Tenant, Base Rent
shall be calculated at two (2) times the Base Rent and Additional Rent then in effect. “Building Service
Equipment” means all apparatus, machinery, devices, fixtures, appurtenances, equipment and personal
property now or hereafter located in or servicing the Premises and owned by Landlord.

13.      Services and Utilities. Landlord shall not be liable for any interruption or alteration in provision of
any services, Utilities or commodities, nor for any damages resulting from defects in the provision of same
so long as any such interruption or alteration is not the result of the negligence or willful misconduct of
Landlord.




                                                       14
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11            Desc
                  Exhibit Lease - Sims Avenue                   Page 15 of 27

 14.      Property at Risk of Tenant. All property of any kind that may at any time be in or about the Premises
 or the Patio License Area shall be at the sole risk of Tenant and Landlord shall not be liable for any injury,
 loss, theft or damage of or to any such property, except for injury, loss, theft or damage of or to any such
 property arising out of acts, negligence or default of Landlord or its agents, employees or independent
 contractors.

 15.      Waiver of Claims. Indemnity and Insurance.

          15.1     Landlord agrees to indemnify and save harmless Tenant from and against any and all
 liabilities, losses, damages, costs, expenses, causes of action, suits, claims, demands or judgments of any
 nature arising from injury to or death of any person, or damage to or loss of property, in the Premises or the
 Building arising from negligence or willful misconduct of Landlord and/or Landlord’s agents, servants,
 employees except to the extent the same is in any part due to negligence or acts on the part of Tenant or
 any Tenant Party. This indemnity and hold harmless agreement shall include indemnity against all costs,
 including reasonable attorney’s fees, expenses and liabilities incurred in or in connection with any such
 claim or proceeding brought thereon.

          15.2   | Tenant agrees to indemnify and save harmless Landlord from and against any and all
 liabilities, losses, damages, costs, expenses, causes of action, suits, claims, demands or judgments of any
 nature arising from (i) injury to or death of any person, or damage to or loss of property, in the Premises
 and/or connected with the use, condition or occupancy of the Premises and the Patio License Area, or in
 the Building or Common Areas, except to the extent caused by the negligence or willful misconduct of
 Landlord and/or Landlord’s agents, (ii) any uncured violation by Tenant of this Lease, and (iii) any act,
 fault, omission, or other misconduct of Tenant or any Tenant Party. This indemnity and hold harmless
 agreement shall include indemnity against all costs, including reasonable attorney’s fees, expenses and
 liabilities incurred in or in connection with any such claim or proceeding brought thereon.

         15.3.   Tenant agrees to maintain in full force during the Term (and the Extended Term, if
applicable) at Tenant’s sole cost and expense, insurance policies written by insurance companies authorized
to do business in the State of Rhode Island and reasonably approved by Landlord of the types and in
amounts not less than as specifically set forth below. Landlord shall be named as an additional insured on
such insurance policies and upon Landlord’s request, Tenant shall cause such insurance policies to name
the holders of any mortgage encumbering the Food Hub Property as additional insureds. Each such policy
shall provide that such policy will not be cancelled without thirty (30) days’ prior written notice to Landlord,
and a duplicate original or certificate thereof as well as satisfactory evidence of the payment of all premiums
shall be delivered to Landlord upon the Lease Execution Date and thereafter annually during the Term no
less than fifteen (15) days prior to the expiration date of each expiring policy evidencing the policies of
insurance required hereunder, which shall include:

         (i)      Commercial General Liability Insurance insuring Tenant on an occurrence and per location
         basis against all claims and demands for personal injury liability (including, without limitation,
         bodily injury, sickness, disease, and death) or damage to property which may be claimed to have
         occurred from and after the time Tenant and/or its contractors enter the Premises or the Patio
         License Area in accordance this Lease, subject to commercially customary exclusions and
         limitations, of not less than One Million ($1,000,000) Dollars per occurrence and Two Million
         ($2,000,000) Dollars in the aggregate in the event of personal injury to any number of persons or
         damage to property, arising out of any one occurrence, and from time to time thereafter shall be not
         less than such higher amounts, if procurable, as may be reasonably required by Landlord and are
         customarily carried by responsible similar tenants in the City of Providence. Landlord reserves the
         right to approve such lesser amounts on a per-tenant lease basis depending on the specific permitted
         use to be conducted at any particular leased premises. Notwithstanding the foregoing, Tenant shall



                                                      15
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11             Desc
                  Exhibit Lease - Sims Avenue                   Page 16 of 27

         be solely responsible for any costs incurred by Landlord due to an increase in Landlord’s policy of
         public liability and/or property damage insurance resulting from Tenant’s use of the Premises.

         (ii)     "All Risk" property insurance at full replacement cost value insuring only Tenant on
         Tenant's personal property, including inventory, trade fixtures, wall and floor coverings, furniture
         and other personal property removable by Tenant and leasehold improvements either existing
         within the Premises or the Patio License Area at the Term Commencement Date or installed by
         Tenant during the Term of this Lease.

         (iii)    If applicable   as determined   by Landlord   in its reasonable   discretion,   liquor liability
         insurance for injury to persons and property in a sum not less than One Million ($1,000,000) Dollars
         per each occurrence, or such higher sum as Landlord may require in the future, naming Landlord
         and the holder of any mortgage encumbering the Food Hub Property as additional and co-insured.
         A certificate of such insurance, evidencing such liquor liability insurance coverage, as required
         herein, shall be provided to Landlord prior the service or consumption of alcoholic beverages on
         the Premises and on the Patio License Area and thereafter annually as provided above.

         (iv) | Promptly after Landlord’s reasonable request therefor, business interruption insurance in a
         sum not less than the then current yearly Base Rent, or such higher sum as Landlord may require
         in the future, but in no event shall the business interruption insurance be less than the Base Rent
         payable by Tenant annually.     Such insurance shall name Landlord as assignee of the proceeds of
         such policy.

         (v)      Worker's compensation insurance as required by applicable law.

         15.4    Landlord shall maintain, throughout the Term (and the Extended Term, if applicable),
 policies of insurance covering damage to the Food Hub Property and/or the Building, excluding Tenant’s
 fixtures, or equipment, in the amount of the full replacement value thereof, providing protection against all
perils included within the classification of fire, extended coverage, vandalism, malicious mischief, “all risk”
and fire sprinkler leakage insurance. Landlord shall at all times during the Term (and the Extended Term,
if applicable), keep in force a policy or policies of commercial general liability insurance, which may be
through an endorsement on a blanket liability insurance policy such amounts as Landlord and/or Landlord’s
mortgagee(s) shall deem reasonably necessary and appropriate from time to time.           Landlord's insurance
shall name Tenant as an additional insured against any and all damages and liability on account of or arising
out of injuries to or the death of persons, or for property damage, occurring in the Common Areas and not
caused by the negligence or misconduct of Tenant or any Tenant Party. The cost associated with the
aforementioned insurance to be carried by Landlord shall be deemed included in Base Rent.

16.       Assignment and Subletting. Tenant shall not without Landlord’s prior written consent (i) encumber,
sell, assign or transfer this Lease, in whole or in part, (ii) permit any assignment of this Lease by operation
of law, (iii) sublet or sublicense the Premises, the Patio License Area or any portion thereof or any of
Tenant’s appurtenant rights hereunder (including without limitation any Special Access rights, Common
Areas or usage of vendor tables), or (iv) permit the use or occupancy of all or any part of the Premises or
the Patio License Area or any of Tenant’s appurtenant rights hereunder (including without limitation any
Special Access rights, Common Areas or usage of vendor tables) by any parties other than Tenant, its agents
and employees. Any request by Tenant for such consent shall include the name of the proposed Transferee,
the nature of its business and proposed use of the Premises (and if, applicable, but subject to Landlord’s
approval, the Patio License Area), complete information as to its financial condition, and the terms and
conditions of the proposed Transfer. Tenant shall supply such additional information about the proposed
Transfer and Transferee as the Landlord reasonably requests. Tenant shall reimburse Landlord for its legal
and other expenses in connection with any request for consent.     In any case where Landlord shall consent
to an assignment or subletting, Tenant shall remain primarily liable for Tenant's obligations hereunder,

                                                      16
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                        Entered 05/06/25 11:43:11          Desc
                  Exhibit Lease - Sims Avenue                     Page 17 of 27

 jointly and severally with any permitted assignee or sublessee, until the end of the Term (and the Extended
 Term, if applicable). The transfer of a majority interest in the capital stock of any corporate Tenant or a
 majority of the interest in any partnership Tenant, however accomplished, and whether in a single
 transaction or in a series of related or unrelated transactions, shall be deemed an assignment of this Lease.
 If for any approved assignment or sublease Tenant receives Rent or other consideration, either initially or
 over the term of the assignment or sublease, in excess of the Rent called for hereunder, or in case of a
 sublease of part of the Premises, in excess of the portion of such Rent fairly allocable to such part, after
 appropriate adjustments to assure that all other payments called for hereunder are appropriately taken into
 account, to pay to Landlord as Additional Rent the full excess of each such payment of Rent or other
 consideration received by Tenant promptly after its receipt. Any assignment, subletting or transfer of this
 Lease which is not in compliance with the provisions of this Section shall be of no effect and void. Without
 limitation of the rights of Landlord hereunder in respect thereto, if there is any assignment of this Lease by
 Tenant for consideration or a subletting of the whole of the Premises by Tenant at a rent which exceeds the
 rent payable hereunder by Tenant, or if there is a subletting of a portion of the Premises by Tenant at a rent
 in excess of the subleased portion’s pro rata share of the rent payable hereunder by Tenant, then Tenant
 shall pay to Landlord, as additional rent, forthwith upon Tenant’s receipt of the consideration (or the cash
equivalent thereof) therefor, in the case of an assignment, and in the case of a subletting, the full amount of
any such excess rent. The provisions of this Section shall apply to each and every assignment of the Lease
and each and every subletting of all or a portion of the Premises, whether to a subsidiary or controlling
corporation of the Tenant or any other person, firm or entity, in each case on the terms and conditions set
forth herein. For the purposes of this Section, the term “rent” shall mean all Base Rent, additional rent or
other payments and/or consideration payable by one party to another for the use and occupancy of all or a
portion of the Premises. Notwithstanding anything to the contrary contained in this Lease, Tenant shall
have no right to assign or sublicense all or any portion of the Patio License Area without Landlord’s prior
written consent.

 17.     Quiet Enjoyment. So long as Tenant fully abides by and performs the covenants and conditions
hereof, Tenant may peacefully hold and enjoy the Premises for the Term (and the Extended Term, if
applicable), subject to the terms and conditions of this Lease.

 18.     Entry.

         18.1      Landlord, its agents, or employees, shall have the right to enter the Premises and the Patio
License Area at reasonable times (and upon reasonable prior notice to Tenant, telephonic notice being
acceptable except that no notice shall be required in emergency situations) to examine the same, to make
repairs or alterations to any part of the Building as Landlord shall deem necessary or to enforce any of the
Rules and Regulations, to give any notice required or permitted to be given to Tenant hereunder, to exhibit
the Premises to prospective brokers, lenders, agents, buyers and to post "For Sale" or "For Lease" signs
during the last six (6) months of the Term or during any period while Tenant is in default.

         18.2    If Tenant shall not be personally present to open and permit entry into the Premises and/or
the Patio License Area at any time during an emergency when for any reason an entry therein shall be
deemed reasonable by Landlord due to an emergency, Landlord or Landlord’s agents may enter the
Premises by a master key or (if Landlord cannot locate or does not have reasonable access to its master key)
may forcibly enter the same giving reasonable care to Tenant’s property, without rendering Landlord or
such agents liable therefor, and without in any manner affecting the obligations and covenants of this Lease.
Provided that Landlord shall incur no additional expense thereby, Landlord shall exercise its rights of access
to the Premises permitted under any of the terms and provisions of this Lease in such manner as to minimize,
to the extent practicable, interference with Tenant’s use and occupation of the Premises.

19.     Eminent Domain and Damage.



                                                       17
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                       Entered 05/06/25 11:43:11         Desc
                  Exhibit Lease - Sims Avenue                    Page 18 of 27

          19.1     Landlord and Tenant further covenant and agree that in case the whole or any part of the
 Building is destroyed or damaged by fire or other casualty, or is damaged, condemned or taken by public
 authority so as to render the same unfit for use or occupancy, and whether or not the Premises are affected
 thereby (hereinafter sometimes “damage event”), Landlord may, if it shall be unable to or shall elect not to
 repair or restore the Premises and/or the Building, terminate this Lease upon not less than thirty (30) days’
 notice given to Tenant within sixty (60) days after the damage event, notwithstanding Landlord’s entire
 interest may have been divested; provided that if the Premises are rendered wholly or partly untenantable
 by the damage event, and if such damage shall not have been caused by the neglect, default or misuse
 thereof by Tenant, a just abatement of the Rent shall be made until the Premises shall be restored to
 tenantable condition or until such termination of this Lease.

         19.2     In the event that the Premises are destroyed or damaged by fire or other casualty or are
 damaged, condemned or taken by public authority so as to render the same unfit for use or occupancy, and
 such damage shall not have been caused by the neglect, default or misuse thereof by of Tenant, and Landlord
 shall be unable to render the Premises fit for use or occupancy within sixty (60) days of the condemnation
 or damage, Tenant may terminate this lease by written notice to Landlord not less than sixty (60) days nor
 more than one hundred twenty (120) days following such damage event and upon the giving of such notice
 this Lease shall be terminated.   In the event of any such action by public authority, Tenant shall have no
 right, title or interest in any award or proceeds hereof and Tenant hereby assigns all rights to awards to
 Landlord; provided, however, that Tenant may make a claim for loss of Tenant’s fixtures and business and
 relocation expenses which have been specifically provided for in the award for condemnation damages.




                                                      18
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                         Entered 05/06/25 11:43:11            Desc
                  Exhibit Lease - Sims Avenue                      Page 19 of 27


 20.         Defaults and Remedies.

             20.1      If Tenant shall:

             (i)      Fail to pay any installment of Base Rent, Additional Rent or any of the other payments at
             the times and in the manner provided for herein, such failure having continued for a period in excess
             of ten (10) days after the same becomes due and payable;

             (ii)    Fail to perform or comply with any of the other conditions or agreements expressed or
             implied herein and fail to remedy such lack of compliance within thirty (30) days after notice from
             Landlord of such failure;

             (iii)   | Vacate or close the Premises for sixty (60) consecutive days whether or not the result of
             any act, occurrence or circumstance beyond Tenant's control; or

             (iv)       Liquidate or cease to exist, seek relief under any law for the relief of debtors, make an
             assignment for the benefit of creditors or be the subject of a voluntary or involuntary petition in
             bankruptcy or receivership which shall remain undismissed or unstayed for an aggregate of sixty
             (60) days, or if any debtor in possession (whether or not Tenant), receiver or liquidator of Tenant
             or of all or any substantial part of Tenant’s properties or of the Premises shall be appointed without
             the consent or acquiescence of Tenant and such appointment shall remain undismissed or unstayed
             for an aggregate of sixty (60) days, or if the estate hereby created shall be levied upon or taken by
             execution or process of law.

       20.2            Then and in any of such cases regardless of any waiver or consent of any earlier event of
 default, Landlord, at its option, may exercise any and all remedies available to Landlord under law,
 including without limitation the following:

       (i)            Landlord may terminate this Lease.

       (ii)           In addition to any other remedies available at law, equity, or under this Lease, Tenant
       covenants that it will pay to Landlord upon demand and indemnify Landlord from and against any
       loss and expense directly sustained by reason of any default and/or termination resulting therefrom,
       including without limitation, any loss of rent prior to or after reletting the Premises, broker’s
       commissions, costs of advertising, preparing the Premises for reletting, any moving, storage and
       disposition of Tenant’s property, court costs and reasonable attorney’s fees.

       (iii)          After a default by Tenant, Landlord (a) may remedy such default at Tenant’s expense
       without waiving such default and/or (b) may re-lease all or any portion of the Premises for any term
       and use. Following default and a termination of this Lease, Landlord agrees to use commercially
       reasonable efforts to re-lease the Premises.

       (iv)           This Lease and the estate created hereby shall not continue or inure to the benefit of any
       assignee, receiver or trustee in bankruptcy of Tenant except at the option of Landlord.

         Except as may be expressly and specifically set forth herein to the contrary, any and all remedies
set forth in this Lease: (a) shall be in addition to any and all other remedies Landlord may have at law or in
equity; (b) shall be cumulative; and (c) may be pursued successively or concurrently as Landlord may elect.
The exercise of any remedy by Landlord shall not be deemed an election of remedies or preclude Landlord
from exercising any other remedies in the future.



                                                           19
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                     Entered 05/06/25 11:43:11            Desc
                  Exhibit Lease - Sims Avenue                  Page 20 of 27

          20.3    All sums due to Landlord from Tenant under this Lease which are not paid when due (due
 dates shall be extended by any periods of grace granted under this Lease for this purpose), whether or not
 a default hereunder has occurred or been declared by Landlord, shall bear interest at the rate of 14% per
 month until paid in full, payable to Landlord on demand.

 21.     Waiver and Consent. Waiver or consent by either party of or to any default or breach of any of the
 terms, conditions or covenants hereof or of any other tenant’s lease in any instance shall not be deemed to
 be a waiver of or consent to any later breach or default thereof or to any other default under any other term,
 condition, or covenant hereof. A receipt by Landlord of Rent, Additional Rent or any other sum from
 Tenant with knowledge of any breach or default shall not be deemed to be a waiver or consent thereto
 unless expressly acknowledged in writing by Landlord. For purposes of this Lease “Landlord’s consent”
 shall mean the prior written consent of Landlord in each instance.

 22.     Signs. Landlord shall provide design, fabrication and installation of initial signage to the Premises
 as mutually agreed by Landlord and Tenant but otherwise consistent with building standards set by
 Landlord (the “Building Standard Signs”). Tenant will not otherwise place or suffer to be placed or
 maintained on the exterior of the Premises or the Patio License Area or anywhere within the Building any
 signs, advertising matter or any other thing of any kind, and will not place or maintain any decoration,
 lettering or advertising matter on the glass of any window or door of the Premises without first obtaining
 Landlord's written approval thereof. Tenant shall prepare and submit to Landlord for its approval plans for
 all interior and exterior signage for the Premises and the Patio License Area to the extent that additional
 signage is desired beyond the Building Standard Signs. Once approved by Landlord in writing and after
 Tenant has obtained any and all necessary governmental approvals, Tenant may purchase and install such
 signage. Tenant agrees to maintain its Building Standard Signs, any sign, decoration, lettering, advertising
 matter or other items approved by Landlord in good condition and repair (including replacement) at all
 times.

 23.      Loading: Parking. All loading and unloading and all deliveries of any kind shall be done only at
such times and at such locations and through such entrances as shall be designated by Landlord for such
purposes. To the extent on-site parking is provided by Landlord, Tenant shall be entitled to the use of the
parking spaces available during Landlord’s normal business hours on a first come, first served basis in
common with others entitled to use of same; provided, however, that Landlord reserves the right to reserve
any or all on-site parking for any Landlord Parties and/or Food Hub Parties and/or to designate employee
and vendor parking requirements in the Rules and Regulations. Notwithstanding anything to the contrary
contained herein, Landlord hereby grants Tenant Special Access Rights in the form of a non-exclusive
license to utilize Monday through Friday on a twenty-four (24) hour basis, up to three (3) single parking
spaces at the Property in such locations designated by Landlord from time to time, for Tenant’s delivery
vehicles (the dimensions of each of which shall not exceed the dimensions of any single parking space
provided on the Property ) for the purpose of making deliveries from Tenant’s commissary located at the
Premises and other food establishments owned and operated by Tenant and its affiliates (the “Delivery
Vehicle Parking Spaces”).Tenant’s use of the Delivery Vehicle Spaces shall at all times comply with the
Rules and Regulations. Landlord shall use commercially reasonable efforts to work with the City of
Providence to secure short-term, curbside parking for co-locator customers along Sims Avenue before
summer 2021.

24.      Broker’s Commissions. Landlord and Tenant each represents that it has not dealt with any real
estate agent or broker in connection with the negotiation of this Lease or the leasing of the Premises and
agrees to hold the other party harmless from all loss, cost or expense resulting from the breach by such
party of this representation.

25.     Entire Agreement. This document shall become effective and binding only upon the execution and
delivery hereof by both Landlord and Tenant. This Lease sets forth all covenants, agreements and

                                                      20
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11            Desc
                  Exhibit Lease - Sims Avenue                   Page 21 of 27

 understandings between Landlord and Tenant concerning the Premises and the renting thereof and Landlord
 has made no representations or promises with respect to the Building or the Premises except those contained
 herein. Except as otherwise provided herein, no amendment or addition to this Lease shall be binding upon
 Landlord or Tenant unless in writing and signed by both parties hereto.

 26.      Notices. Any notice required or permitted to be given by one party hereto to the other party hereto
 shall be deemed to have been duly given when delivered or served personally and (i) given by certified
 mail, return receipt requested, in the United States mail, or (ii) delivered by any commercially recognized
 courier service which obtains a written receipt or (iii) delivered by any overnight delivery service such as
 Federal Express, and shall be delivered to the Notice Address set forth in the Lease Summary Schedule
 attached hereto or to such other addresses of which either party, as the case may be, shall notify the other
 in the manner herein stated for giving notice and such delivery shall constitute the giving of such notice
 hereunder.

 27.     Underlying Leasehold Interests. The Lease is a sub-sublease, subject to the terms and conditions
 of (i) a ground lease entitled “Lease” between FF Realty Corporation, a Rhode Island nonprofit corporation
 (“FF Realty”), as tenant, and the Providence Redevelopment Agency, as landlord, dated as of September
 19, 2019, a memorandum of which is recorded in the City of Providence Land Evidence Records at Book
 12487, Page 4 (the “Ground Lease”), and (ii) a master sublease entitled “Sublease Agreement” between
 Landlord, as tenant, and FF Realty, as landlord, dated as of September 19, 2019, a memorandum of which
 is recorded in the City of Providence Land Evidence Records at Book 12487, Page 124 (the “Sublease”).

 28.     Subordination and Nondisturbance. This Lease and all rights of Tenant hereunder are and shall
remain subject and subordinate to the Ground Lease, the Sublease and any mortgages which may now or
hereafter affect the Premises, the Building or the Land and to all renewals, modifications, consolidations,
replacements and extensions thereof. Such subordination shall be automatic without the execution of any
further subordination agreement by Tenant; provided, however, that if a written subordination agreement
is required by any mortgagee, Tenant hereby agrees to execute same and in the event of Tenant’s failure to
do so, Tenant hereby irrevocably constitutes Landlord its attorney-in-fact, for such purpose.       In the event
that any party shall succeed to Landlord’s interest, this Lease shall continue in effect and Tenant shall attorn
to such party without delay, provided that Tenant’s use and enjoyment of the Premises are not disturbed. If
requested by Tenant in writing, Landlord shall use commercially reasonable efforts to obtain a so-called
“Subordination, Nondisturbance and Attornment Agreement” from any mortgage holder of Landlord’s
interest in the Food Hub.

29.      Notice to Mortgagee. Upon receipt of a written request by Landlord or any holder of a mortgage
on all or any part of the Premises, Tenant will thereafter send any such holder copies of all notices of default
or termination or both given by Tenant to Landlord in accordance with any provision of this Lease. In the
event of any failure by Landlord to perform, fulfill or observe any agreement by Landlord herein or any
breach by Landlord of any representation or warranty of Landlord herein, any such holder may at its election
cure such failure or breach for and on behalf of Landlord. The foregoing sentence shall not be deemed to
create any obligation for such holder(s).

30.      Estoppel Certificate. Tenant will from time to time, upon not less than ten (10) days’ prior written
request by Landlord, deliver to Landlord or any actual or prospective purchaser or holder of a mortgage on
all or any part of the Premises, a written statement certifying whether or not this Lease is in full force and
effect and stating (i) the last date to which the Rent and other payments have been made, (ii) whether or not
this Lease has been amended, (iii) whether or not to Tenant’s knowledge Landlord is in default in the
performance, fulfillment or observance of any representation, warranty or agreement by Landlord set forth
herein, or has any indebtedness to Tenant for the payment of money, and (iv) if so, the nature of each such
default or indebtedness.    Such statement shall also provide such other information as Landlord may
reasonably request.


                                                      21
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11             Desc
                  Exhibit Lease - Sims Avenue                   Page 22 of 27


 31.      Collateral Assignment of Lease. With reference to any assignment by Landlord of Landlord’s
 interest in this Lease, or the rentals payable hereunder, conditional in nature or otherwise, which assignment
 is made to the holder of a mortgage on Landlord’s estate, Tenant agrees:

                (i)        that the execution thereof by Landlord and the acceptance thereof by the
                holder of such mortgage, shall not be deemed an assumption by such holder of any
                of the obligations of Landlord hereunder, unless such holder shall, by written notice
                sent to Tenant, specifically otherwise elect; and

                (ii)      that, except as aforesaid, such holder shall be treated as having assumed
                Landlord’s obligations hereunder only upon foreclosure of such holder’s mortgage
                and the taking of possession of the Premises.

 32.     Landlord While an Owner. As used herein “Landlord” shall mean the owner for the time being of
 Landlord’s estate and property in the Premises and if such estate and property be sold or transferred, the
 seller or transferor shall thereupon be relieved of all obligations and liabilities hereunder thereafter arising
 or occurring, and the purchaser or transferee shall thereupon be deemed to have assumed and agreed to
 perform and observe all obligations and liabilities hereunder thereafter arising or occurring, or based on
 occurrences or situations thereafter arising or occurring.

 33.     Successors, Assigns. Joint and Several. The words “Landlord” and “Tenant” shall include their
 respective heirs, legal representatives, successors and assigns. If more than one party signs as Tenant
 hereunder the covenants, conditions and agreements herein of Tenant shall be the joint and several
 obligations of each such party. In like manner, if Tenant named in this Lease shall be a partnership or other
 business association, the members of which are, by virtue of statute or general law, subject to personal
 liability, the liability of each such member shal] be joint and several.

 34.     Governing Law. This lease shall be governed by the laws of the State of Rhode Island without
reference to its conflict of laws provisions.

35.      Landlord's Liability. Any    liability of Landlord (and its partners, shareholders or members)        to
Tenant for a default under the terms of this Lease shall be recoverable only from the interest of Landlord
 in the Building, and the rents, proceeds of sale, and any insurance proceeds available to Landlord. In no
event shall Landlord (or its partners, officers, shareholders or members) have any personal liability for any
default. Tenant shall have no right to terminate this Lease for any default by Landlord hereunder and no
right, for any such default, to offset or counterclaim against any Rent due hereunder. Landlord shall have
no liability for any incidental or consequential damages of Tenant, or anyone claiming by, through, or under
Tenant, for any reason whatsoever. Landlord shall not be liable for any damages other than actual and direct
damages. This Section shall not limit any equitable remedies.

36.      Independent Covenants. As a material inducement for Landlord and Tenant to enter into this Lease,
both Landlord and Tenant acknowledge and agree that this Lease shall be construed as though the covenants
herein between Landlord and Tenant are completely independent and not dependent and Tenant hereby
expressly waives the benefit of any currently existing or hereinafter enacted statute or case law to the
contrary and agrees that if Landlord fails to perform its obligations set forth herein, Tenant shall not be
entitled to make any repairs or perform any acts hereunder at Landlord’s expense or to any setoff of the
Rent or other amounts owing hereunder against Landlord or terminate this Lease as a result of Landlord’s
failure to perform or refraining from performing any covenant or obligation of Landlord hereunder.

37,      Severability. If any clause or provision of this Lease is illegal, invalid, or unenforceable under
present or future laws, then the remainder of this Lease shall not be affected thereby and in lieu of such

                                                       22
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11             Desc
                  Exhibit Lease - Sims Avenue                   Page 23 of 27

 clause or provision, there shall be added as a part of this Lease a clause or provision as similar in terms to
 such illegal, invalid, or unenforceable clause or provision as may be possible and still be legal, valid, and
 enforceable.

 38.      Recording of Lease. Landlord and Tenant agree not to record or to cause this Lease or any
 memorandum or notice to be recorded in any public office including, by way of example but not limitation,
 the records of land evidence in the municipality within which the Building is located. In the event that
 Tenant records or causes this Lease or any memorandum or notice to be recorded as set forth above, Tenant
 shall be in default hereunder and Landlord shall have all rights and remedies available as a result of a default
 hereunder.

 39.     Lease Guaranty. In connection with and as a condition to Landlord’s obligations under this Lease,
 Tenant shall deliver to Landlord a Lease Guaranty in the form attached hereto as Exhibit H executed by the
 therein named guarantors (the “Guaranty”). Provided that as of March 1, 2024 (the “Third Anniversary”)
 Tenant is not then in default of the Lease beyond the expiration of any applicable grace period, Tenant shall
 notify Landlord of the same and, if Tenant is in fact not in default of the Lease beyond the expiration of
 any applicable grace period, Landlord shall confirm the same in writing within fifteen (15) days of Tenant’s
 notice and the Guaranty shall automatically terminate effective as of the Third Anniversary without any
 further action by the parties and the Guaranty shall be void and of no further force effective as of such Third
 Anniversary.

 40.    Jury Trial Waiver. THE PARTIES HEREBY KNOWINGLY AND VOLUNTARILY, AND
 IRREVOCABLY WAIVE THEIR RIGHT TO A TRIAL BY JURY AND AGREE THAT ANY CLAIM,
 COUNTERCLAIM, AND OTHER DISPUTE HEREUNDER SHALL BE DECIDED SOLELY BY A
 JUDGE (WITHOUT THE USE OF A JURY) SITTING IN A COURT OF COMPETENT
 JURISDICTION. THIS JURY TRIAL WAIVER PROVISION SHALL SURVIVE THE TERMINATION
 OF THIS LEASE.

 41.      Landlord's Right of First Refusal. If Tenant assumes this Lease and proposes to assign the same
 pursuant to the provisions of the Bankruptcy Code to any person or entity who shall have made a bona fide
 offer to accept an assignment of this Lease on terms acceptable to Tenant, then notice of such proposed
 assignment, setting forth (i) the name and address of such person, (ii) all of the terms and conditions of such
 offer, and (iii) the adequate assurance to be provided Landlord to assure such person's future performance
under the Lease,    including, without limitation, the assurance      referred to in section 365(b)(3) of the
Bankruptcy Code, shall be given to Landlord by Tenant no later than twenty (20) days after receipt by
Tenant, but in any event no later than ten (10) days prior to the date that Tenant shall make application to a
court of competent jurisdiction for authority and approval to enter into such assignment and assumption,
and Landlord shall thereupon have the prior right and option, to be exercised by notice to Tenant given at
any time prior to the effective date of such proposed assignment, to accept an assignment of this Lease upon
the same terms and conditions and for the same consideration, if any, as the bona fide offer made by such
person, less the then unamortized cost of the Tenant Allowance and less any brokerage commissions which
may be payable out of the consideration to be paid by such person for the assignment of this Lease.

42.      Exclusive Use.    During the Term, Landlord shall not lease any space in the Building to a tenant
whose primary business is operation of a Mexican, Chicano, and/or Tex Mex restaurant (i.e., tacos, burritos,
burrito bowls, tortas, nachos, quesadillas, churros, and/or other similar food items comprise 30% or more
of the tenant’s overall food menu). Landlord shall allow Tenant, in its sole direction, to participate in all
Mexican, Chicano, and/or Tex Mex themed events at the Food Hub. Landlord agrees that any uncured
breach of this Section 42 shall cause Tenant substantial and irreparable damages and therefore, in the event
of any such uncured breach, in addition to other remedies which may be available, if Landlord shall fail to
cure any breach in accordance with Section 43 of this Lease, Tenant shall be entitled to seek specific
performance and other injunctive and equitable relief. Notwithstanding the foregoing, Tenant shall not

                                                       23
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                      Entered 05/06/25 11:43:11         Desc
                  Exhibit Lease - Sims Avenue                   Page 24 of 27

 directly or indirectly, make any demand, claim or actions against any tenants or occupants of the Food Hub
 based on this Section 42.

 43.        Landlord Defauit.   Landlord shall in no event be in default in the performance of any of its
 obligations hereunder unless and until Landlord shall have failed to perform such obligations within thirty
 (30) days after notice by Tenant to Landlord properly specifying wherein Landlord has failed to perform
 any such obligation. Under no circumstances shall Tenant be entitled to set off against the rental herein
 reserved or other payment herein required to be made by it any amounts which might be due to it by
 Landlord.

 44,        Counterparts: Electronic Signatures.   This Lease may be executed in any number of counterparts,
 each of which so executed shall be deemed to be an original, and such counterparts shall together constitute
 but one and the same agreement. The parties shall be entitled to sign and transmit an electronic signature
 of this Lease (whether by facsimile, PDF or other e-mail transmission), which signature shall be binding
 on the party whose name is contained therein.         Any party providing an electronic signature agrees to
 promptly execute and deliver to the other parties an original signed Lease promptly upon the recipient’s
 request.




                                       [SIGNATURE PAGE FOLLOWS]




                                                       24
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25                 Entered 05/06/25 11:43:11   Desc
                  Exhibit Lease - Sims Avenue              Page 25 of 27

 IN WITNESS WHEREOF, Landlord and Tenant have caused this instrument to be executed as of the day
 and year first set forth above.


                                             TENANT:

                                             TALLULAH’S TAQUERIA, LLC



                                             By: KOWIN                 1s       a
                                             Print Name: Kglily Ann Rojas
                                             Title: Authorizéd Member



                                             LANDLORD:

                                             FARM FRESH RHODE ISLAND,
                                             a Rhode Island nonprofit corporation



                                             By:
                                             Print Name:
                                             Title:




                                               25
Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25              Entered 05/06/25 11:43:11         Desc
                  Exhibit Lease - Sims Avenue           Page 26 of 27

 IN WITNESS WHEREOF, Landlord and Tenant have caused this instrument to be executed as of the day
 and year first set forth above.


                                             TENANT:

                                             TALLULAH’S TAQUERIA, LLC



                                             By:
                                             Print Name: Kefly Ann Rojas
                                             Title: Authorized Member



                                             LANDLORD:

                                             FARM FRESH RHODE ISLAND,
                                             a Rhode Island nonprofit corporation



                                             By:    AV            OAK _
                                             Print Name:     >“ery ley        CLA
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Case 1:25-bk-10270 Doc 35-1 Filed 05/06/25      Entered 05/06/25 11:43:11   Desc
                  Exhibit Lease - Sims Avenue   Page 27 of 27




EXHIBITS TO
EXHIBITS TO LEASE
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